              Case 24-41502-mxm7                          Doc 1            Filed 04/30/24 Entered 04/30/24 20:47:11                              Desc Main
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

              Northern District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Eanoch
       Write the name that is on your         First name                                                      First name
       government-issued picture
                                               Ray
       identification (for example, your
                                              Middle name                                                     Middle name
       driver’s license or passport).
                                               Stafford
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any             Stafford Printing LLC
       separate legal entity such as a
                                              Business name (if applicable)                                   Business name (if applicable)
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 9           1     1   0                              xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Eanoch              Ray                         Stafford                                       Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification        9      2 - 3         5     8    7     2   8     9                          -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          513 Gail Drive
                                          Number            Street                                        Number           Street




                                          Kennedale, TX 76060
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Tarrant
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Eanoch             Ray                     Stafford                                       Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                 ❑ No. Go to line 12.
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ❑ No. Go to Part 4.
      any full- or part-time
      business?
                                           ✔ Yes. Name and location of business
                                           ❑
      A sole proprietorship is a                 Stafford Printing LLC
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a                     1109 Pamela Drive
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this                Euless                                             TX              76040
      petition.                                City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ✔ None of the above
                                               ❑

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




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 Debtor 1           Eanoch              Ray                     Stafford                                     Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State       ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                     page 5
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 Debtor 1           Eanoch              Ray                      Stafford                                       Case number (if known)
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 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                             You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                               ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                  counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a                filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                      certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment                Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.               plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                 ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                  counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a             filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                      certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,         Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment             you MUST file a copy of the certificate and payment
                                            plan, if any.                                                   plan, if any.
                                        ❑ I certify that I asked for credit counseling services         ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                      from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                 obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                      made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                          merit a 30-day temporary waiver of the
                                            requirement.                                                    requirement.
                                            To ask for a 30-day temporary waiver of the                     To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                 requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you           what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                   were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                      bankruptcy, and what exigent circumstances
                                            required you to file this case.                                 required you to file this case.

                                              Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                              If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                              along with a copy of the payment plan you                      along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                              be dismissed.                                                  be dismissed.

                                              Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                              for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit          ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                          counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental               ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                       deficiency that makes me
                                                               incapable of realizing or making                               incapable of realizing or making
                                                               rational decisions about finances.                             rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me             ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                               to be unable to participate in a
                                                               briefing in person, by phone, or                               briefing in person, by phone, or
                                                               through the internet, even after I                             through the internet, even after I
                                                               reasonably tried to do so.                                     reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military                ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                                duty in a military combat zone.

                                              If you believe you are not required to receive a               If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


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 Debtor 1           Eanoch                Ray                      Stafford                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑ No. Go to line 16b.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Eanoch Ray Stafford
                                       Eanoch Ray Stafford, Debtor 1
                                       Executed on 04/30/2024
                                                        MM/ DD/ YYYY




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                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Marcus Leinart                                                   Date 04/30/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Marcus Leinart
                                                  Printed name

                                                   Leinart Law Firm
                                                  Firm name

                                                   10670 N Central Expy Ste 320
                                                  Number           Street




                                                   Dallas                                                          TX       75231-2173
                                                  City                                                             State   ZIP Code




                                                  Contact phone (469) 232-3328                       Email address contact@leinartlaw.com


                                                   00794156                                                        TX
                                                  Bar number                                                       State




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                Notice Required by 11 U.S.C. § 342(b) for
                Individuals Filing for Bankruptcy (Form 2010)


                  This notice is for you if:                                          Chapter 7: Liquidation

                         You are an individual filing for                                              $245    filing fee
                         bankruptcy, and
                                                                                                         $78   administrative fee
                                                                                                 +       $15   trustee surcharge
                         Your debts are primarily consumer debts.
                         Consumer debts are defined in 11 U.S.C. §                                     $338    total fee
                         101(8) as “incurred by an individual
                         primarily for a personal, family, or                        Chapter 7 is for individuals who have financial
                         household purpose.”                                         difficulty preventing them from paying their
                                                                                     debts and who are willing to allow their non-
                                                                                     exempt property to be used to pay their
                                                                                     creditors. The primary purpose of filing under
                                                                                     chapter 7 is to have your debts discharged.
                The types of bankruptcy that are                                     The bankruptcy discharge relieves you after
                available to individuals                                             bankruptcy from having to pay many of your
                                                                                     pre-bankruptcy debts. Exceptions exist for
                Individuals who meet the qualifications may file                     particular debts, and liens on property may
                under one of four different chapters of the                          still be enforced after discharge. For example,
                Bankruptcy Code:                                                     a creditor may have the right to foreclose a
                                                                                     home mortgage or repossess an automobile.
                        Chapter 7 — Liquidation
                                                                                     However, if the court finds that you have committed
                        Chapter 11— Reorganization                                   certain kinds of improper conduct described in the
                                                                                     Bankruptcy Code, the court may deny your
                        Chapter 12— Voluntary repayment plan                         discharge.
                                    for family farmers or
                                    fishermen                                        You should know that even if you file chapter 7 and
                                                                                     you receive a discharge, some debts are not
                        Chapter 13— Voluntary repayment plan                         discharged under the law. Therefore, you may still
                                    for individuals with regular                     be responsible to pay:
                                    income
                                                                                             most taxes;
                You should have an attorney review your                                      most student loans;
                decision to file for bankruptcy and the choice of                            most domestic support and property
                chapter.                                                                     settlement obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)        page 1
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                                                                                     your income is more than the median income for
                        most fines, penalties, forfeitures, and                      your state of residence and family size, depending
                        criminal restitution obligations; and                        on the results of the Means Test, the U.S. trustee,
                        certain debts that are not listed in your
                                                                                     bankruptcy administrator, or creditors can file a
                        bankruptcy papers.                                           motion to dismiss your case under § 707(b) of the
                You may also be required to pay debts arising                        Bankruptcy Code. If a motion is filed, the court will
                from:                                                                decide if your case should be dismissed. To avoid
                                                                                     dismissal, you may choose to proceed under
                        fraud or theft;
                                                                                     another chapter of the Bankruptcy Code.
                        fraud or defalcation while acting in breach
                        of fiduciary capacity;
                                                                                     If you are an individual filing for chapter 7
                        intentional injuries that you inflicted; and
                                                                                     bankruptcy, the trustee may sell your property to
                        death or personal injury caused by
                                                                                     pay your debts, subject to your right to exempt the
                        operating a motor vehicle, vessel, or
                                                                                     property or a portion of the proceeds from the sale
                        aircraft while intoxicated from alcohol or
                                                                                     of the property. The property, and the proceeds
                        drugs.
                                                                                     from property that your bankruptcy trustee sells or
                                                                                     liquidates that you are entitled to, is called exempt
                If your debts are primarily consumer debts, the
                                                                                     property. Exemptions may enable you to keep your
                court can dismiss your chapter 7 case if it finds that
                                                                                     home, a car, clothing, and household items or to
                you have enough income to repay creditors a
                                                                                     receive some of the proceeds if the property is
                certain amount. You must file Chapter 7 Statement
                                                                                     sold.
                of Your Current Monthly Income (Official Form
                122A–1) if you are an individual filing for
                                                                                     Exemptions are not automatic. To exempt property,
                bankruptcy under chapter 7. This form will
                                                                                     you must list it on Schedule C: The Property You
                determine your current monthly income and
                                                                                     Claim as Exempt (Official Form 106C). If you do
                compare whether your income is more than the
                                                                                     not list the property, the trustee may sell it and pay
                median income that applies in your state.
                                                                                     all of the proceeds to your creditors.

                If your income is not above the median for your
                state, you will not have to complete the other
                                                                                      Chapter 11: Reorganization
                chapter 7 form, the Chapter 7 Means Test
                Calculation (Official Form 122A–2).
                                                                                                          $1,167   filing fee
                                                                                                 +         $571    administrative fee
                If your income is above the median for your state,
                you must file a second form —theChapter 7                                                 $1,738   total fee
                Means Test Calculation (Official Form 122A–2).
                The calculations on the form— sometimes called                       Chapter 11 is often used for reorganizing a
                the Means Test —deduct from your income living                       business, but is also available to individuals. The
                expenses and payments on certain debts to                            provisions of chapter 11 are too complicated to
                determine any amount available to pay unsecured                      summarize briefly.
                creditors. If




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                  Read These Important Warnings

                      Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                      your property, you should hire an attorney and carefully consider all of your options before you file.
                      Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                      and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                      properly and protect you, your family, your home, and your possessions.

                      Although the law allows you to represent yourself in bankruptcy court, you should understand that
                      many people find it difficult to represent themselves successfully. The rules are technical, and a
                      mistake or inaction may harm you. If you file without an attorney, you are still responsible for
                      knowing and following all of the legal requirements.

                      You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                      necessary documents.

                      Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                      bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                      fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
                      to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                 Chapter 12: Repayment plan for family                               Under chapter 13, you must file with the court a
                             farmers or fishermen                                    plan to repay your creditors all or part of the money
                                                                                     that you owe them, usually using your future
                                     $200    filing fee                              earnings. If the court approves your plan, the court
                                                                                     will allow you to repay your debts, as adjusted by
                            +         $78    administrative fee
                                                                                     the plan, within 3 years or 5 years, depending on
                                     $278    total fee                               your income and other factors.

                Similar to chapter 13, chapter 12 permits family                     After you make all the payments under your plan,
                farmers and fishermen to repay their debts over a                    many of your debts are discharged. The debts that
                period of time using future earnings and to                          are not discharged and that you may still be
                discharge some debts that are not paid.                              responsible to pay include:

                                                                                             domestic support obligations,
                 Chapter 13: Repayment plan for                                              most student loans,
                             individuals with regular                                        certain taxes,
                             income                                                          debts for fraud or theft,
                                                                                             debts for fraud or defalcation while acting
                                     $235    filing fee                                      in a fiduciary capacity,
                            +         $78    administrative fee                              most criminal fines and restitution
                                                                                             obligations,
                                     $313    total fee
                                                                                             certain debts that are not listed in your
                                                                                             bankruptcy papers,
                Chapter 13 is for individuals who have regular
                                                                                             certain debts for acts that caused death or
                income and would like to pay all or part of their
                                                                                             personal injury, and
                debts in installments over a period of time and to
                                                                                             certain long-term secured debts
                discharge some debts that are not paid. You are
                eligible for chapter 13 only if your debts are not
                more than certain dollar amounts set forth in 11
                U.S.C. § 109.




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                  Warning: File Your Forms on Time                                         A married couple may file a bankruptcy case
                                                                                           together—called ajoint case. If you file a joint
                                                                                           case and each spouse lists the same mailing
                  Section 521(a)(1) of the Bankruptcy Code
                                                                                           address on the bankruptcy petition, the
                  requires that you promptly file detailed
                                                                                           bankruptcy court generally will mail you and
                  information about your creditors, assets,
                                                                                           your spouse one copy of each notice, unless
                  liabilities, income, expenses and general
                                                                                           you file a statement with the court asking that
                  financial condition. The court may dismiss your
                                                                                           each spouse receive separate copies.
                  bankruptcy case if you do not file this
                  information within the deadlines set by the
                  Bankruptcy Code, the Bankruptcy Rules, and                               Understand which services you
                  the local rules of the court.                                            could receive from credit
                                                                                           counseling agencies
                  For more information about the documents and
                  their deadlines, go to:                                                  The law generally requires that you receive a
                  http://www.uscourts.gov/bkforms                                          credit counseling briefing from an approved
                  /bankruptcy_form                                                         credit counseling agency. 11 U.S.C. § 109(h).
                  s.html#procedure.                                                        If you are filing a joint case, both spouses
                                                                                           must receive the briefing. With limited
                                                                                           exceptions, you must receive it within the 180
                Bankruptcy crimes have serious
                                                                                           days before you file your bankruptcy petition.
                consequences
                                                                                           This briefing is usually conducted by
                        If you knowingly and fraudulently conceal                          telephone or on the Internet.
                        assets or make a false oath or statement
                        under penalty of perjury—either orally or                          In addition, after filing a bankruptcy case, you
                        in writing—in connection with a                                    generally must complete a financial
                        bankruptcy case, you may be fined,                                 management instructional course before you
                        imprisoned, or both.                                               can receive a discharge. If you are filing a
                        All information you supply in connection                           joint case, both spouses must complete the
                        with a bankruptcy case is subject to                               course.
                        examination by the Attorney General acting
                        through the Office of the U.S. Trustee, the                        You can obtain the list of agencies approved
                        Office of the U.S. Attorney, and other                             to provide both the briefing and the
                        offices and employees of the U.S.                                  instructional course from:
                        Department of Justice.                                             http://justice.gov/ust/eo/hapcpa
                                                                                           /ccde/cc_approved.html.
                Make sure the court has your
                mailing address                                                            In Alabama and North Carolina, go to:
                                                                                           http://www.uscourts.gov/FederalCourts
                The bankruptcy court sends notices to the mailing                          /Bankruptcy/
                address you list on Voluntary Petition for                                 BankruptcyResources/ApprovedCredit
                Individuals Filing for Bankruptcy(Official Form 101).                      AndDebtCounselors.aspx.
                To ensure that you receive information about your
                case, Bankruptcy Rule 4002 requires that you                               If you do not have access to a computer, the
                notify the court of any changes in your address.                           clerk of the bankruptcy court may be able to
                                                                                           help you obtain the list.




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 Fill in this information to identify your case and this filing:

  Debtor 1                 Eanoch                Ray                    Stafford
                           First Name            Middle Name           Last Name

  Debtor 2
  (Spouse, if filing)      First Name            Middle Name           Last Name

  United States Bankruptcy Court for the:                Northern              District of      Texas

  Case number                                                                                                                        ❑ Check if this is an
                                                                                                                                       amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                         What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
        1.1      Single Family Residence                 ✔ Single-family home
                                                         ❑                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other   ❑ Duplex or multi-unit building                    Creditors Who Have Claims Secured by Property.
                description                              ❑ Condominium or cooperative                      Current value of the       Current value of the
                                                         ❑ Manufactured or mobile home                     entire property?           portion you own?
                 513 Gail Drive                          ❑ Land
                                                         ❑ Investment property                                      $379,510.00                $379,510.00
                 Kennedale, TX 76060                     ❑ Timeshare                                       Describe the nature of your ownership interest
                City             State     ZIP Code
                                                         ❑ Other                                           (such as fee simple, tenancy by the entireties, or
                 Tarrant                                 Who has an interest in the property? Check one.   a life estate), if known.
                County                                   ✔ Debtor 1 only
                                                         ❑                                                 Fee Simple
                                                         ❑ Debtor 2 only
                                                         ❑ Debtor 1 and Debtor 2 only                      ❑ Check if this is community property
                                                         ❑ At least one of the debtors and another            (see instructions)

                                                         Other information you wish to add about this item, such as local
                                                         property identification number: 00001035320

                                                         Source of Value: TCAD

        If you own or have more than one, list here:




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                                                                 What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
       1.2     Single Family Residence                           ✔ Single-family home
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
               description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                 ❑ Manufactured or mobile home                                        entire property?                portion you own?
               501 Susan Drive                                   ❑ Land
                                                                 ❑ Investment property                                                            $197,397.00                 $197,397.00
               Kennedale, TX 76060                               ❑ Timeshare                                                          Describe the nature of your ownership interest
               City               State         ZIP Code
                                                                 ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
               Tarrant                                           Who has an interest in the property? Check one.                      a life estate), if known.
               County                                            ✔ Debtor 1 only
                                                                 ❑                                                                     Rental
                                                                 ❑ Debtor 2 only
                                                                 ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                 ❑ At least one of the debtors and another                                 (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: 00001035436

                                                                 Source of Value: TCAD

                                                                 What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
       1.3     A352-D                                            ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
               Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
               description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                 ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                 ✔ Land
                                                                 ❑
                                                                 ❑ Investment property                                                            $250,000.00                 $250,000.00
               Axtell, TX 76624                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                 ❑ Other
               City               State         ZIP Code
                                                                                                                                      (such as fee simple, tenancy by the entireties, or
               Mclennan                                          Who has an interest in the property? Check one.                      a life estate), if known.
               County                                            ✔ Debtor 1 only
                                                                 ❑                                                                     Undeveloped Land
                                                                 ❑ Debtor 2 only
                                                                 ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                 ❑ At least one of the debtors and another                                 (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:



                                                                                                                                                                  ➔
 2.    Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
       you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                              $826,907.00



  Part 2:          Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.      Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         ❑ No
         ✔ Yes
         ❑




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       3.1   Make:                   Chevrolet     Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                   ✔ Debtor 1 only
                                                   ❑                                                   the amount of any secured claims on Schedule D:
             Model:                  Tahoe         ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                       Current value of the      Current value of the
             Year:                   2005          ❑ At least one of the debtors and another          entire property?          portion you own?

             Approximate mileage:    320000        ❑ Check if this is community property (see                    $3,000.00                  $3,000.00
                                                          instructions)
             Other information:




       If you own or have more than one, describe here:

       3.2   Make:                   GMC           Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                   ✔ Debtor 1 only
                                                   ❑                                                   the amount of any secured claims on Schedule D:
             Model:                  Sierra        ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                       Current value of the      Current value of the
             Year:                   2001          ❑ At least one of the debtors and another          entire property?          portion you own?

             Approximate mileage:    186000        ❑ Check if this is community property (see                    $3,500.00                  $3,500.00
                                                          instructions)
             Other information:




       3.3                           Chevrolet     Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
             Make:
                                                   ✔ Debtor 1 only
                                                   ❑                                                   the amount of any secured claims on Schedule D:
             Model:                  Equinox       ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                       Current value of the      Current value of the
             Year:                   2012          ❑ At least one of the debtors and another          entire property?          portion you own?

             Approximate mileage:    140000        ❑ Check if this is community property (see                    $3,500.00                  $3,500.00
                                                          instructions)
             Other information:




       3.4                           Honda         Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
             Make:
                                                   ✔ Debtor 1 only
                                                   ❑                                                   the amount of any secured claims on Schedule D:
             Model:                  Accord        ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.
                                                   ❑ Debtor 1 and Debtor 2 only                       Current value of the      Current value of the
             Year:                   2017          ❑ At least one of the debtors and another          entire property?          portion you own?
             Approximate mileage:                  ❑ Check if this is community property (see                   $16,000.00                $16,000.00
                                                          instructions)
             Other information:




       3.5   Make:                                 Who has an interest in the property? Check one.     Do not deduct secured claims or exemptions. Put
                                                   ✔ Debtor 1 only
                                                   ❑                                                   the amount of any secured claims on Schedule D:
             Model:               Travel Trailer
                                                   ❑ Debtor 2 only                                     Creditors Who Have Claims Secured by Property.

                                     1984
                                                   ❑ Debtor 1 and Debtor 2 only                       Current value of the      Current value of the
             Year:                                 ❑ At least one of the debtors and another          entire property?          portion you own?
             Approximate mileage:                  ❑ Check if this is community property (see                    $1,000.00                  $1,000.00
                                                          instructions)
             Other information:




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 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ❑ No
       ✔ Yes
       ❑

       4.1     Make:                          Kawasaki           Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          Mule              ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2005              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:                                ❑ Check if this is community property (see                                           $2,500.00                  $2,500.00
                                                                      instructions)



       If you own or have more than one, list here:

       4.2                                     Polaris           Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Make:
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          Razor             ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2011              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:                                ❑ Check if this is community property (see                                           $4,500.00                  $4,500.00
                                                                      instructions)



       4.3                                     Yamaha            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Make:
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                       Grizzly 350          ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2009              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:                                ❑ Check if this is community property (see                                           $2,500.00                  $2,500.00
                                                                      instructions)



       4.4     Make:                           Big Tex           Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          Trailer           ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2012              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:                                ❑ Check if this is community property (see                                           $1,000.00                  $1,000.00
                                                                      instructions)



       4.5     Make:                           Bass              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          Tracker           ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           1999              ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:                                ❑ Check if this is community property (see                                           $2,500.00                  $2,500.00
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $40,000.00




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  Part 3:         Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                     Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                           $2,100.00
                                    See Attached.


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                             $500.00
                                    Electronics


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                             $700.00
                                    2 - Firearms


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                             $500.00
                                    Clothes, Shoes, Accessories


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                             $700.00
                                    Jewelry




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 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                          $10.00
                                                   Dog


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                                       ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                             $4,510.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                                                                                                                                            $200.00

                                             17.2. Checking account:                                                                                                                                              $50.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them....................        Name of entity:                                                                                                        % of ownership:

                                              Stafford Printing, LLC                                                                                                             100.00%                    $100,000.00



Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 6
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 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:               Institution name:

                                      IRA:                     IRA                                                                         $150,000.00


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




Official Form 106A/B                                                      Schedule A/B: Property                                                  page 7
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 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                 the tax years. ...................                                                                 State:

                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement




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       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                   Alimony:

                                                                                                                   Maintenance:

                                                                                                                   Support:

                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                of each policy and list its value. ...   Company name:                             Beneficiary:                           Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




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                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                          $250,250.00



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                 page 10
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 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                 page 11
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 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                   $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                  $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔         $826,907.00


 56.   Part 2: Total vehicles, line 5                                                                              $40,000.00

 57.   Part 3: Total personal and household items, line 15                                                           $4,510.00

 58.   Part 4: Total financial assets, line 36                                                                   $250,250.00

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                         $294,760.00               Copy personal property total             ➔   +     $294,760.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $1,121,667.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                page 12
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                 Continuation Page

 6.               Household goods and furnishings

                  Household goods and furnishings                                                                 $700.00

                  Kitchen Items                                                                                   $700.00

                  Personal Tools/Lawn Equipment                                                                   $700.00




Official Form 106A/B                                    Schedule A/B: Property                                    page 13
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 Fill in this information to identify your case:

  Debtor 1                    Eanoch               Ray                Stafford
                              First Name           Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                    ❑ Check if this is an
  (if known)                                                                                                                         amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from      Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                    ✔
                                                                                    ❑          $195,786.00                   Const. art. 16 §§ 50, 51, Texas
 Single Family Residence                                             $197,397.00
 501 Susan Drive Kennedale, TX 76060                                                ❑ 100% of fair market value, up          Prop. Code §§ 41.001-.002
                                                                                       to any applicable statutory limit
 Line from
 Schedule A/B:          1.2

 Brief description:
                                                                                    ✔
                                                                                    ❑           $3,000.00                    Tex. Prop. Code §§ 42.001(a),
 2005 Chevrolet Tahoe                                                   $3,000.00
                                                                                    ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                page 1 of 3
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 Debtor 1             Eanoch            Ray                   Stafford                                    Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                             ✔
                                                                             ❑           $3,500.00                    Tex. Prop. Code §§ 42.001(a),
 2001 GMC Sierra                                                 $3,500.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        3.2

 Brief description:
                                                                             ✔
                                                                             ❑           $3,500.00                    Tex. Prop. Code §§ 42.001(a),
 2012 Chevrolet Equinox                                          $3,500.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        3.3

 Brief description:
                                                                             ✔
                                                                             ❑           $1,000.00                    Tex. Prop. Code §§ 42.001(a),
 1984 Travel Trailer                                             $1,000.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        3.5

 Brief description:
                                                                             ✔
                                                                             ❑           $2,500.00                    Tex. Prop. Code §§ 42.001(a),
 2005 Kawasaki Mule                                              $2,500.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(9)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        4.1

 Brief description:
                                                                             ✔
                                                                             ❑             $700.00                    Tex. Prop. Code §§ 42.001(a),
 Household goods and furnishings                                   $700.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                             ✔
                                                                             ❑             $700.00                    Tex. Prop. Code §§ 42.001(a),
 Kitchen Items                                                     $700.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                             ✔
                                                                             ❑             $700.00                    Tex. Prop. Code §§ 42.001(a),
 Personal Tools/Lawn Equipment                                     $700.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                             ✔
                                                                             ❑             $500.00                    Tex. Prop. Code §§ 42.001(a),
 Electronics                                                       $500.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(1)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:         7




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                             page 2 of 3
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 Debtor 1             Eanoch            Ray                   Stafford                                    Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from    Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                             ✔
                                                                             ❑             $700.00                    Tex. Prop. Code §§ 42.001(a),
 2 - Firearms                                                      $700.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(7)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        10

 Brief description:
                                                                             ✔
                                                                             ❑             $500.00                    Tex. Prop. Code §§ 42.001(a),
 Clothes, Shoes, Accessories                                       $500.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(5)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        11

 Brief description:
                                                                             ✔
                                                                             ❑             $700.00                    Tex. Prop. Code §§ 42.001(a),
 Jewelry                                                           $700.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(6)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                             ✔
                                                                             ❑              $10.00                    Tex. Prop. Code §§ 42.001(a),
 Dog                                                                $10.00
                                                                             ❑ 100% of fair market value, up          42.002(a)(11)
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                             ✔
                                                                             ❑          $150,000.00                   Tex. Prop. Code § 42.0021
 IRA                                                          $150,000.00
                                                                             ❑ 100% of fair market value, up
 Line from                                                                      to any applicable statutory limit
 Schedule A/B:        21




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                             page 3 of 3
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IN RE:   Stafford, Eanoch Ray                                                           CASE NO

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                                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                            Scheme Selected: State
                                                         Gross                    Total                          Total Amount     Total Amount
 No.     Category                                Property Value           Encumbrances        Total Equity             Exempt      Non-Exempt
 1.      Real Estate                                $576,907.00               $304,672.00    $272,235.00          $195,786.00       $76,449.00
 3.      Motor vehicle                                $11,000.00                    $0.00      $11,000.00          $11,000.00            $0.00
 4.      Watercraft, trailers, motors                $13,000.00                     $0.00     $13,000.00            $2,500.00       $10,500.00
         homes, and accessories
 6.      Household goods and                           $2,100.00                    $0.00         $2,100.00         $2,100.00            $0.00
         furnishings
 7.      Electronics                                     $500.00                    $0.00          $500.00           $500.00             $0.00
 8.      Collectibles of value                             $0.00                    $0.00            $0.00              $0.00            $0.00
 9.      Equipment for sports and                          $0.00                    $0.00            $0.00              $0.00            $0.00
         hobbies
 10.     Firearms                                        $700.00                    $0.00          $700.00           $700.00             $0.00
 11.     Clothes                                         $500.00                    $0.00          $500.00           $500.00             $0.00
 12.     Jewelry                                         $700.00                    $0.00          $700.00           $700.00             $0.00
 13.     Nonfarm animals                                  $10.00                    $0.00           $10.00             $10.00            $0.00
 14.     Other                                             $0.00                    $0.00            $0.00              $0.00            $0.00
 16.     Cash                                              $0.00                    $0.00            $0.00              $0.00            $0.00
 17.     Deposits of money                               $250.00                    $0.00          $250.00              $0.00          $250.00
 18.     Bonds, mutual funds, or                           $0.00                    $0.00            $0.00              $0.00            $0.00
         publicly traded stocks
 19.     Business Interests, LLC's,                        $0.00                    $0.00            $0.00              $0.00            $0.00
         Partnerships, Joint Ventures
         and Nonpublicly traded stock
 20.     Bonds and other financial                         $0.00                    $0.00            $0.00              $0.00            $0.00
         instruments
 21.     Retirement or pension                      $150,000.00                     $0.00    $150,000.00          $150,000.00            $0.00
         accounts
 22.     Security deposits and                             $0.00                    $0.00            $0.00              $0.00            $0.00
         prepayments
 23.     Annuities                                         $0.00                    $0.00            $0.00              $0.00            $0.00
 24.     Interest in a qualified education                 $0.00                    $0.00            $0.00              $0.00            $0.00
         fund, such as an education IRA
 25.     Trusts, equitable or future                       $0.00                    $0.00            $0.00              $0.00            $0.00
         interests in property
 26.     Copyrights, trademarks,                           $0.00                    $0.00            $0.00              $0.00            $0.00
         websites and other intellectual
         property
 27.     Licenses, Franchises, and                         $0.00                    $0.00            $0.00              $0.00            $0.00
         other general intangibles
 28.     Tax refunds                                       $0.00                    $0.00            $0.00              $0.00            $0.00
 29.     Family support                                    $0.00                    $0.00            $0.00              $0.00            $0.00
 30.     Other amounts owed to the                         $0.00                    $0.00            $0.00              $0.00            $0.00
         debtor
 31.     Insurance policies                                $0.00                    $0.00            $0.00              $0.00            $0.00
 32.     Interest in property from                         $0.00                    $0.00            $0.00              $0.00            $0.00
         deceased
 33.     Claims against third parties                      $0.00                    $0.00            $0.00              $0.00            $0.00
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                                                                FORT WORTH DIVISION

IN RE:   Stafford, Eanoch Ray                                                               CASE NO

                                                                                            CHAPTER    Chapter7

                                              SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                   Continuation Sheet #1


Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                             Scheme Selected: State
                                                          Gross                   Total                           Total Amount     Total Amount
 No.     Category                                 Property Value          Encumbrances            Total Equity          Exempt      Non-Exempt
 34.     All other claims, includes                        $0.00                   $0.00               $0.00            $0.00            $0.00
         contingent/unliquidated claims,
         counter claims, and creditor set
         offs
 35.     Other financial asset                             $0.00                   $0.00               $0.00            $0.00            $0.00
 38.     Accounts receivable                               $0.00                   $0.00               $0.00            $0.00            $0.00
 39.     Office equipment, furnishings,                    $0.00                   $0.00               $0.00            $0.00            $0.00
         and supplies
 40.     Machinery, fixtures and                           $0.00                   $0.00               $0.00            $0.00            $0.00
         equipment
 41.     Inventory                                         $0.00                   $0.00               $0.00            $0.00            $0.00
 42.     Interests in partnerships or joint                $0.00                   $0.00               $0.00            $0.00            $0.00
         ventures
 43.     Customer lists                                    $0.00                   $0.00               $0.00            $0.00            $0.00
 44.     Other businessrelated property                    $0.00                   $0.00               $0.00            $0.00            $0.00


 47.     Farm animals                                      $0.00                   $0.00               $0.00            $0.00            $0.00
 48.     Crops                                             $0.00                   $0.00               $0.00            $0.00            $0.00
 49.     Equipment                                         $0.00                   $0.00               $0.00            $0.00            $0.00
 50.     Supplies                                          $0.00                   $0.00               $0.00            $0.00            $0.00
 51.     Other farm or fishing related                     $0.00                   $0.00               $0.00            $0.00            $0.00
         property
 53.     Other                                             $0.00                   $0.00               $0.00            $0.00            $0.00

                 TOTALS:                            $755,667.00               $304,672.00        $450,995.00      $363,796.00        $87,199.00
           Case 24-41502-mxm7                    Doc UNITED
                                                     1 Filed   04/30/24 Entered 04/30/24 20:47:11
                                                            STATES BANKRUPTCY COURT
                                                                                                                                 Desc Main
                                                       Document      Page 31 of 84
                                                       NORTHERN DISTRICT OF TEXAS
                                                                 FORT WORTH DIVISION

IN RE:    Stafford, Eanoch Ray                                                           CASE NO

                                                                                         CHAPTER       Chapter7

                                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                    Continuation Sheet #2


Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes of this
analysis. The below listed items are to be returned to the lienholder
 Property Description                                                                         Market Value                   Lien                   Equity
 Real Property
 (None)
 Personal Property
 (None)
                             TOTALS:                                                                  $0.00                 $0.00                    $0.00


Non-exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

 Property Description                                           Market Value                 Lien                 Equity             Non-Exempt Amount
 Real Property
 Single Family Residence                                         $379,510.00         $303,061.00              $76,449.00                       $76,449.00
 513 Gail Drive Kennedale, TX 76060
 Personal Property
 Checking account                                                    $200.00                                    $200.00                           $200.00
 2011 Polaris Razor                                                $4,500.00                                   $4,500.00                        $4,500.00
 2009 Yamaha Grizzly 350                                           $2,500.00                                   $2,500.00                        $2,500.00
 2012 Big Tex Trailer                                              $1,000.00                                   $1,000.00                        $1,000.00
 1999 Bass Tracker                                                 $2,500.00                                   $2,500.00                        $2,500.00
 Checking account                                                      $50.00                                     $50.00                            $50.00
                        TOTALS:                                  $755,667.00         $304,672.00           $450,995.00                         $87,199.00



                                                               Summary
                A. Gross Property Value (not including surrendered property)                               $755,667.00
                B. Gross Property Value of Surrendered Property                                                   $0.00
                C. Total Gross Property Value (A+B)                                                        $755,667.00
                D. Gross Amount of Encumbrances (not including surrendered property)                       $304,672.00
                E. Gross Amount of Encumbrances on Surrendered Property                                           $0.00
                F. Total Gross Encumbrances (D+E)                                                          $304,672.00
                G. Total Equity (not including surrendered property) / (A-D)                               $450,995.00
                H. Total Equity in surrendered items (B-E)                                                        $0.00
                I. Total Equity (C-F)                                                                      $450,995.00
                J. Total Exemptions Claimed                                                                $363,796.00
                K. Total Non-Exempt Property Remaining (G-J)                                                  $87,199.00
              Case 24-41502-mxm7                      Doc 1      Filed 04/30/24 Entered 04/30/24 20:47:11                                         Desc Main
                                                                Document Page 32 of 84
 Fill in this information to identify your case:

     Debtor 1           Eanoch                 Ray                    Stafford
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:             Northern               District of        Texas

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 EECU                                          Describe the property that secures the claim:                   $16,517.00             $16,000.00         $517.00
         Creditor’s Name
                                                        2017 Honda Accord
          Attn: Bankruptcy
          PO Box 1777                                  As of the date you file, the claim is: Check all that apply.
         Number          Street                        ❑ Contingent
          Fort Worth, TX 76101                         ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ❑ Debtor 1 only                               ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ✔ At least one of the debtors and
         ❑                                             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred        11/1/2023       Last 4 digits of account number         0    0       0   1

         Remarks: Pay Direct

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $16,517.00




Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 3
           Case 24-41502-mxm7                  Doc 1       Filed 04/30/24 Entered 04/30/24 20:47:11                                      Desc Main
                                                          Document Page 33 of 84
Debtor 1        Eanoch                Ray                     Stafford                         Case number (if known)
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 Primary Color Inc.                         Describe the property that secures the claim:              $300,000.00             $350,000.00                $0.00
      Creditor’s Name
                                                 A352-D Axtell, TX 76624 Stafford Printing, LLC
       9239 Premier Row
      Number         Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
       Dallas, TX 75247                          ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
        community debt
      Date debt was incurred                     Last 4 digits of account number

      Remarks: Business Debt
  2.3 Texas Trust Credit Union                   Describe the property that secures the claim:                  $1,611.00           $197,397.00                $0.00
      Creditor’s Name
                                                 Single Family Residence
       Attn: Bankruptcy
                                                 501 Susan Drive Kennedale, TX 76060
       PO Box 2260
                                                 As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                 ❑ Contingent
       Mansfield, TX 76063-0047                  ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred      8/31/2015      Last 4 digits of account number         0    9   1    5

      Add the dollar value of your entries in Column A on this page. Write that number here:                $301,611.00
      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
           Case 24-41502-mxm7                      Doc 1         Filed 04/30/24 Entered 04/30/24 20:47:11                                   Desc Main
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Debtor 1             Eanoch               Ray                     Stafford                         Case number (if known)
                 First Name               Middle Name            Last Name


                                                                                                          Column A               Column B                Column C
                     Additional Page                                                                      Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                       that supports this      portion
                     After listing any entries on this page, number them beginning with 2.3,              Do not deduct the
                     followed by 2.4, and so forth.                                                       value of collateral.
                                                                                                                                 claim                   If any

2.4 Tms/veritexcommunityba                        Describe the property that secures the claim:              $303,061.00             $379,510.00                  $0.00
    Creditor’s Name
                                                   Single Family Residence
     3138 E. Elwood Street Ste. 800
                                                   513 Gail Drive Kennedale, TX 76060
    Number            Street
                                                  As of the date you file, the claim is: Check all that apply.
                                                  ❑ Contingent
     Phoenix, AZ 85034
                                                  ❑ Unliquidated
    City                 State        ZIP Code
                                                  ❑ Disputed
    Who owes the debt? Check one.                 Nature of lien. Check all that apply.
    ✔ Debtor 1 only
    ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
    ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
    ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
    ❑ At least one of the debtors and             ❑ Other (including a right to
           another                                    offset)
    ❑ Check if this claim relates to a
           community debt
    Date debt was incurred          3/30/2023     Last 4 digits of account number         4    6    8    9

    Remarks: Pay Direct
2.5 Veritex Bank                                  Describe the property that secures the claim:              $260,000.00             $100,000.00        $160,000.00
    Creditor’s Name
                                                   Stafford Printing, LLC
     8214 Westchester Dr. 400
    Number            Street
                                                  As of the date you file, the claim is: Check all that apply.
                                                  ❑ Contingent
     Dallas, TX 75225                             ❑ Unliquidated
    City                 State        ZIP Code    ❑ Disputed
    Who owes the debt? Check one.                 Nature of lien. Check all that apply.
    ✔ Debtor 1 only
    ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
    ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
    ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
    ❑ At least one of the debtors and             ❑ Other (including a right to
           another                                    offset)
    ❑ Check if this claim relates to a
           community debt
    Date debt was incurred                        Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                     $563,061.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                                 $881,189.00
      Write that number here:




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 3
           Case 24-41502-mxm7                        Doc 1       Filed 04/30/24 Entered 04/30/24 20:47:11                                        Desc Main
                                                                Document Page 35 of 84
 Fill in this information to identify your case:

  Debtor 1            Eanoch                  Ray                     Stafford
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                Northern               District of       Texas

  Case number
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Capital One Auto Finance                                           Last 4 digits of account number           1    0    0    1                                 $0.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   12/1/2015
         Attn: Bankruptcy
         7933 Preston Rd
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
         Plano, TX 75024-2302
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         City                      State                   ZIP Code

         Who incurred the debt? Check one.
                                                                         Type of NONPRIORITY unsecured claim:
         ❑ Debtor 1 only
         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ✔ At least one of the debtors and another
                                                                             priority claims
         ❑                                                               ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Automobile
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 13
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.2 Chase Auto Finance                                         Last 4 digits of account number         0    2   0     7                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/1/2020
       Attn: Bankruptcy
       700 Kansas Lane LA
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Monroe, LA 71203
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Automobile
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 Chase Auto Finance                                         Last 4 digits of account number         5    2   0     4                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 3/1/2018
       Attn: Bankruptcy
       700 Kansas Lane LA
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Monroe, LA 71203
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Automobile
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 13
           Case 24-41502-mxm7                   Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 City offset Supply Co.                                     Last 4 digits of account number         6    0   3    0                           $600.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       120 N. Paschall Road
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Sunnyvale, TX 75182
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 Clampitt Paper Company                                     Last 4 digits of account number         8    7   7    6                         $5,300.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       9207 Ambassador Row
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Dallas, TX 75247
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 13
           Case 24-41502-mxm7                   Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.6 Corporate Business Solutions Inc.                          Last 4 digits of account number         9    0   7    1                         $1,400.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       2233 East Loop 820 N
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Fort Worth, TX 76118
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 DFW Envelopes                                              Last 4 digits of account number                                                   $500.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       5114 Vandella
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Dallas, TX 75235-8828                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 13
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 Dial A Messenger                                           Last 4 digits of account number         4    0   2    5                         $1,100.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       1214 S. Akard St.
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Dallas, TX 75215
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 Federated Mutual Insurance                                 Last 4 digits of account number                                                 $3,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       9001 Airport Freeway 500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       North Richland Hills, TX 76180
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5 of 13
           Case 24-41502-mxm7                   Doc 1      Filed 04/30/24 Entered 04/30/24 20:47:11                                    Desc Main
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Debtor 1        Eanoch                  Ray                  Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.10 Fuji Film                                                   Last 4 digits of account number                                                    $700.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      110o King George Post Road
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Edison, NJ 08837
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑
                                                                 ❑ Student loans
      ❑ Debtor 2 only
                                                                 ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.11 HP Indigo                                                   Last 4 digits of account number         2    3   4    2                         $36,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      10400 Marina Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Olive Branch, MS 38654
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 13
           Case 24-41502-mxm7                   Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.12 Jet Couriers                                               Last 4 digits of account number                                                   $700.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       2274 Rockbrook Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Lewisville, TX 75067                                      ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.13 Letterpress Graphics Inc.                                  Last 4 digits of account number         6    1   7    8                         $1,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       212 College Ave.
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Fort Worth, TX 76104
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 7 of 13
           Case 24-41502-mxm7                   Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.14 Novatech Inc.                                              Last 4 digits of account number         3    2   3    4                             $70.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       11330 Old Roswell Road Ste. 600
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Roswell, GA 30076
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.15 Performance Specialty Services                             Last 4 digits of account number         5    0   1    1                         $1,900.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       1195 Empire Central Place
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Dallas, TX 75247
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 8 of 13
           Case 24-41502-mxm7                   Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.16 Print Mail Pro                                             Last 4 digits of account number         3    9   7    1                         $1,500.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       2621 Lone Star Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Dallas, TX 75212
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.17 Printing & Imaging Assoc.                                  Last 4 digits of account number         6    1   7    8                         $4,300.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       5720 LBJ Frwy. Ste. 505
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Dallas, TX 75247
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 9 of 13
           Case 24-41502-mxm7                   Doc 1      Filed 04/30/24 Entered 04/30/24 20:47:11                                    Desc Main
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Debtor 1        Eanoch                  Ray                  Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.18 Synchrony Bank/Lowes                                        Last 4 digits of account number         0    7   9     2                           $346.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/1/2024
      Attn: Bankruptcy
      PO Box 965060
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Orlando, FL 32896-5060
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.19 Texas Trust Credit Union                                    Last 4 digits of account number         0    8   0     0                        $13,582.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/1/2003
      Attn: Bankruptcy
      PO Box 2260
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Mansfield, TX 76063-0047
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10 of 13
           Case 24-41502-mxm7                   Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.20 Texas Trust Credit Union                                   Last 4 digits of account number         0    9   0     7                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/1/2007
       Attn: Bankruptcy
       PO Box 2260
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Mansfield, TX 76063-0047
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ConventionalRealEstateMortgage
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.21 Trade Press                                                Last 4 digits of account number                                                   $700.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       2432 Minnis Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Haltom City, TX 76117                                     ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                  priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Business Debt
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 11 of 13
           Case 24-41502-mxm7                   Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1        Eanoch                  Ray                 Stafford                        Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.22 Veritex Community Bank                                     Last 4 digits of account number         5    6   9     2                             $0.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 3/1/2023
       5049 W Park Blvd
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Plano, TX 75093
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify HomeEquityLineOfCredit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 13
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Debtor 1          Eanoch                 Ray                    Stafford                     Case number (if known)
                  First Name            Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                          $0.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                      $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                          $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $72,698.00
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $72,698.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                     page 13 of 13
                   Case 24-41502-mxm7                        Doc 1       Filed 04/30/24 Entered 04/30/24 20:47:11                            Desc Main
                                                                        Document Page 48 of 84
 Fill in this information to identify your case:

     Debtor 1                       Eanoch               Ray                Stafford
                                    First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                           Northern District of Texas

     Case number                                                                                                                         ❑ Check if this is an
     (if known)                                                                                                                              amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                              State what the contract or lease is for

2.1                                                                                             Sub
         Primary Color Inc.                                                                     Contract to be REJECTED
        Name
         9239 Premier Row
        Number             Street
         Dallas, TX 75247
        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                          page 1 of 1
          Case 24-41502-mxm7                           Doc 1    Filed 04/30/24 Entered 04/30/24 20:47:11                                      Desc Main
                                                               Document Page 49 of 84
 Fill in this information to identify your case:

  Debtor 1             Eanoch                 Ray                     Stafford
                      First Name             Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Northern           District of        Texas

  Case number
  (if known)                                                                                                                                ❑ Check if this is an
                                                                                                                                                amended filing

Official Form 106H

Schedule H: Your Codebtors                                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
               ❑ No
               ✔ Yes. In which community state or territory did you live?
               ❑                                                                       Texas              . Fill in the name and current address of that person.

                   Christine Stafford
                   Name of your spouse, former spouse, or legal equivalent
                   513 Gail Drive
                   Number                 Street
                   Kennedale, TX 76060
                   City                            State                          ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt

                                                                                                         Check all schedules that apply:
 3.1    Stafford, Christine
        Name                                                                                             ✔ Schedule D, line
                                                                                                         ❑                          2.1

        513 Gail Drive                                                                                   ✔ Schedule E/F, line
                                                                                                         ❑                            4.1
        Number                          Street
                                                                                                         ❑ Schedule G, line
        Kennedale, TX 76060
        City                                       State                                     ZIP Code

 3.2
        Name                                                                                             ❑ Schedule D, line
                                                                                                         ❑ Schedule E/F, line
        Number                          Street
                                                                                                         ❑ Schedule G, line
        City                                       State                                     ZIP Code




Official Form 106H                                                      Schedule H: Codebtors                                                           page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                  Eanoch                 Ray                Stafford
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name                                               Check if this is:

                                                                 Northern District of Texas
                                                                                                                              ❑ An amended filing
                                                                                                                              ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                    chapter 13 income as of the following date:
  (if known)

                                                                                                                                 MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                             Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                    ✔ Employed ❑ Not Employed
                                                                                                                               ❑
     attach a separate page with
     information about additional            Occupation                   Employee                                             Bakery Dept.
     employers.
                                             Employer's name              The Mail Mart                                        Albertson's LLC
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address           635 Regal Row                                        20427 N. 27th Ave.
     Occupation may include student                                        Number Street                                        Number Street
     or homemaker, if it applies.




                                                                          Dallas, TX 75247                                     Phoenix, AZ 85027
                                                                           City                     State      Zip Code         City                 State    Zip Code
                                             How long employed there? 2 Mths                                                    3 Yrs


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1      For Debtor 2 or
                                                                                                                          non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.               $5,633.33                  $3,201.25

 3. Estimate and list monthly overtime pay.                                                3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.               $5,633.33                  $3,201.25




Official Form 106I                                                         Schedule I: Your Income                                                                 page 1
                 Case 24-41502-mxm7                                  Doc 1          Filed 04/30/24 Entered 04/30/24 20:47:11                                  Desc Main
                                                                                   Document Page 51 of 84
 Debtor 1                 Eanoch                       Ray                             Stafford                                      Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $5,633.33               $3,201.25
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.          $1,410.37                 $176.54
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.              $0.00                 $384.15
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.              $0.00                 $928.24
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.           $1,410.37               $1,488.93
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $4,222.96               $1,712.32
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.               $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $4,222.96     +          $1,712.32          =         $5,935.28

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $5,935.28
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                Case 24-41502-mxm7                         Doc 1     Filed 04/30/24 Entered 04/30/24 20:47:11                                Desc Main
                                                                    Document Page 52 of 84
 Fill in this information to identify your case:

  Debtor 1                  Eanoch                  Ray                  Stafford
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Northern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               20 Yrs                   ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               17 Yrs                   ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               17 Yrs                   ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Spouse                              53                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                   $1,744.00

     If not included in line 4:
                                                                                                                              4a.                          $0.00
     4a. Real estate taxes
                                                                                                                              4b.
     4b. Property, homeowner's, or renter's insurance                                                                                                      $0.00
                                                                                                                              4c.
     4c. Home maintenance, repair, and upkeep expenses                                                                                               $100.00
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00



Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
               Case 24-41502-mxm7                    Doc 1      Filed 04/30/24 Entered 04/30/24 20:47:11                              Desc Main
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 Debtor 1             Eanoch                Ray                   Stafford                                   Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                     $470.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                    $500.00
       6b. Water, sewer, garbage collection                                                                        6b.                    $125.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                    $303.00
       6d. Other. Specify:                                                                                         6d.                       $0.00

 7.    Food and housekeeping supplies                                                                              7.                    $1,000.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                     $100.00

 10. Personal care products and services                                                                           10.                    $100.00

 11.   Medical and dental expenses                                                                                 11.                    $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                    $400.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                    $100.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                         15a.                   $150.00

       15b. Health insurance                                                                                       15b.                      $0.00
       15c. Vehicle insurance                                                                                      15c.                   $150.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                   $310.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                      $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.
                                                                                                                                             $0.00
       17c. Other. Specify:
                                                                                                                   17d.
                                                                                                                                             $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.
                                                                                                                                             $0.00
Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
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 Debtor 1            Eanoch              Ray                   Stafford                                     Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.     +                 $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                  $5,652.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                      $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                  $5,652.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                  $5,935.28

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –             $5,652.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                   $283.28



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                  page 3
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                                                                               Document Page 55 of 84
 Fill in this information to identify your case:

  Debtor 1                      Eanoch                      Ray                      Stafford
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                   Northern District of Texas

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $826,907.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                         $294,760.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                 $1,121,667.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $881,189.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $72,698.00

                                                                                                                                                  Your total liabilities                  $953,887.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $5,935.28


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $5,652.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
             Case 24-41502-mxm7                     Doc 1      Filed 04/30/24 Entered 04/30/24 20:47:11                                     Desc Main
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Debtor 1            Eanoch                Ray                    Stafford                                          Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                            $5,954.71




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                            $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                   $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         $0.00


    9d. Student loans. (Copy line 6f.)                                                                                          $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                         $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                   $0.00


    9g. Total. Add lines 9a through 9f.                                                                                        $0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                            page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Eanoch                 Ray                Stafford
                            First Name             Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Eanoch Ray Stafford
        Eanoch Ray Stafford, Debtor 1


        Date 04/30/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                Case 24-41502-mxm7                     Doc 1       Filed 04/30/24 Entered 04/30/24 20:47:11                              Desc Main
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 Fill in this information to identify your case:

  Debtor 1                  Eanoch                 Ray                Stafford
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                             Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                    ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                               Number     Street
                                                           To                                                                             To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
             Case 24-41502-mxm7                     Doc 1    Filed 04/30/24 Entered 04/30/24 20:47:11                                 Desc Main
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Debtor 1            Eanoch            Ray                    Stafford                                        Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ✔ Wages, commissions,
                                                                                                       ❑
    From January 1 of current year until the
                                                    bonuses, tips                     $5,384.62            bonuses, tips                     $8,791.37
    date you filed for bankruptcy:
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                   $93,863.00             bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business

    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:                     Tax Refund                             $9,697.00
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1             Eanoch                       Ray                   Stafford                                      Case number (if known)
                     First Name                   Middle Name           Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                   Dates of           Total amount paid        Amount you still owe       Was this payment for…
                                                                   payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street


                                                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                 Dates of           Total amount paid   Amount you still         Reason for this payment
                                                                 payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Eanoch                Ray                    Stafford                                        Case number (if known)
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Nature of the case                      Court or agency                                  Status of the case


    Case title                                                                                                                              ❑ Pending
                                                                                            Court Name                                      ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            Number       Street
    Case number

                                                                                            City                      State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




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Debtor 1            Eanoch                 Ray                     Stafford                                       Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




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Debtor 1             Eanoch                 Ray                   Stafford                                      Case number (if known)
                     First Name             Middle Name           Last Name

     Gifts with a total value of more than $600            Describe the gifts                                       Dates you gave       Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




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Debtor 1            Eanoch              Ray                   Stafford                                      Case number (if known)
                    First Name          Middle Name           Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or       Amount of payment
    Leinart Law Firm                                                                                       transfer was made
    Person Who Was Paid                       Attorney’s Fee
                                                                                                           4/3/2024                      $1,777.00
    10670 N Central Expy Ste 320
    Number     Street




    Dallas, TX 75231-2173
    City                   State   ZIP Code
    contact@leinartlaw.com
    Email or website address


    Person Who Made the Payment, if Not You

                                              Description and value of any property transferred            Date payment or       Amount of payment
    DECAF                                                                                                  transfer was made
    Person Who Was Paid                       Credit Counseling/Debtor Ed
                                                                                                           04/03/2024                      $30.00
    112 Goliad St.
    Number     Street




    Fort Worth, TX 76126-2009
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You

                                              Description and value of any property transferred            Date payment or       Amount of payment
    Credit Infonet                                                                                         transfer was made
    Person Who Was Paid                       Credit Report
                                                                                                           04/03/2024                      $50.00
    4540 Honeywell Court
    Number     Street




    Dayton, OH 45424
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




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Debtor 1            Eanoch              Ray                   Stafford                                      Case number (if known)
                    First Name          Middle Name           Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of property         Describe any property or payments             Date transfer was
                                              transferred                               received or debts paid in exchange            made

    Person Who Received Transfer



    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of the property transferred                                       Date transfer was
                                                                                                                                      made


    Name of trust




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                    First Name           Middle Name           Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number         Type of account or     Date account was          Last balance
                                                                                        instrument             closed, sold, moved, or   before closing or
                                                                                                               transferred               transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                   Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Financial Institution               Name
                                                                                                                                         ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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                    First Name          Middle Name            Last Name

                                                Who else has or had access to it?             Describe the contents                          Do you still have
                                                                                                                                             it?

                                                                                                                                           ❑ No
    Name of Storage Facility                   Name
                                                                                                                                           ❑ Yes

    Number     Street                          Number     Street



                                               City                  State   ZIP Code

    City                   State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Where is the property?                        Describe the property                          Value



    Owner's Name
                                               Number     Street



    Number     Street

                                               City                  State   ZIP Code



    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Eanoch              Ray                     Stafford                                     Case number (if known)
                    First Name          Middle Name             Last Name

                                               Governmental unit                       Environmental law, if you know it                Date of notice



    Name of site                              Governmental unit



    Number       Street                       Number       Street



                                              City                  State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                       Environmental law, if you know it                Date of notice



    Name of site                              Governmental unit



    Number       Street                       Number       Street



                                              City                  State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Court or agency                         Nature of the case                               Status of the case



    Case title                                                                                                                         ❑ Pending
                                                                                                                                       ❑ On appeal
                                              Court Name


                                                                                                                                       ❑ Concluded
                                              Number       Street


    Case number
                                              City                  State   ZIP Code




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Debtor 1            Eanoch                Ray                       Stafford                                         Case number (if known)
                    First Name            Middle Name               Last Name
 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
     Stafford Printing LLC                                                                                   Do not include Social Security number or ITIN.
    Name
                                                   Printing
                                                                                                              EIN:    9    2 – 3   5   8      7   2   8   9


                                                    Name of accountant or bookkeeper                         Dates business existed
     1109 Pamela Drive
    Number        Street
                                                                                                              From 05/01/2023 To 03/11/2024
     Euless, TX 76040
    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




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 Debtor 1           Eanoch              Ray                   Stafford                                      Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Eanoch Ray Stafford
        Signature of Eanoch Ray Stafford, Debtor 1


        Date 04/30/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

  Debtor 1                  Eanoch                 Ray                Stafford
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                     ❑ Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures Did you claim the property as
                                                                           a debt?                                                 exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                ✔ No
                                                                                                                                    ❑
    name:               Tms/veritexcommunityba
                                                                           ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        Single Family Residence
                        513 Gail Drive Kennedale, TX 76060
                                                                           ✔ Retain the property and enter into a
                                                                           ❑
    securing debt:                                                                Reaffirmation Agreement.
                                                                           ❑ Retain the property and [explain]:

    Creditor’s                                                             ❑ Surrender the property.                                ✔ No
                                                                                                                                    ❑
    name:               EECU
                                                                           ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        2017 Honda Accord
                                                                           ❑ Retain the property and enter into a
    securing debt:                                                                Reaffirmation Agreement.
                                                                           ✔ Retain the property and [explain]:
                                                                           ❑




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 Debtor 1            Eanoch              Ray                   Stafford                                       Case number (if known)
                     First Name          Middle Name            Last Name




         Additional Page for Part 1

    Creditor’s                                                       ❑ Surrender the property.                                   ❑ No
    name:              Texas Trust Credit Union
                                                                     ❑ Retain the property and redeem it.                        ✔ Yes
                                                                                                                                 ❑
    Description of
    property
                       Single Family Residence
                       501 Susan Drive Kennedale, TX 76060
                                                                     ✔ Retain the property and enter into a
                                                                     ❑
    securing debt:                                                          Reaffirmation Agreement.
                                                                     ❑ Retain the property and [explain]:

    Creditor’s                                                       ✔ Surrender the property.
                                                                     ❑                                                           ✔ No
                                                                                                                                 ❑
    name:              Primary Color Inc.
                                                                     ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       A352-D Axtell, TX 76624
                       Stafford Printing, LLC                        ❑ Retain the property and enter into a
    securing debt:                                                          Reaffirmation Agreement.
                                                                     ❑ Retain the property and [explain]:

    Creditor’s                                                       ❑ Surrender the property.                                   ✔ No
                                                                                                                                 ❑
    name:              Veritex Bank
                                                                     ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       Stafford Printing, LLC
                                                                     ❑ Retain the property and enter into a
    securing debt:                                                          Reaffirmation Agreement.
                                                                     ✔ Retain the property and [explain]:
                                                                     ❑




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                     First Name             Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                            Will the lease be assumed?
    Lessor’s name:                Primary Color Inc.                                                                             ✔ No
                                                                                                                                 ❑
                                                                                                                                 ❑ Yes
    Description of leased
    property:                     Sub

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                               ❑ No
                                                                                                                                 ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Eanoch Ray Stafford
      Signature of Debtor 1


      Date 04/30/2024
            MM/ DD/ YYYY




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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Texas

In re        Stafford, Eanoch Ray

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,777.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,777.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        04/30/2024                                              /s/ Marcus Leinart
                Date                                         Marcus Leinart
                                                             Signature of Attorney
                                                                                            Bar Number: 00794156
                                                                                                   Leinart Law Firm
                                                                                     10670 N Central Expy Ste 320
                                                                                            Dallas, TX 75231-2173
                                                                                            Phone: (469) 232-3328

                                                                                Leinart Law Firm
                                                            Name of law firm




Date:         04/30/2024                                                   /s/ Eanoch Ray Stafford
                                                          Eanoch Ray Stafford




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 Fill in this information to identify your case:                                              Check one box only as directed in this form and in
                                                                  Document Page 76 of 84      Form 122A-1Supp:
  Debtor 1                  Eanoch                 Ray                  Stafford                                ✔ 1. There is no presumption of abuse.
                                                                                                                ❑
                           First Name              Middle Name          Last Name
                                                                                                                ❑ 2. The calculation to determine if a presumption
  Debtor 2
                                                                                                                   of abuse applies will be made under Chapter 7
  (Spouse, if filing)      First Name              Middle Name          Last Name                                  Means Test Calculation (Official Form 122A-2).

  United States Bankruptcy Court for the:                        Northern District of Texas                     ❑ 3. The Means Test does not apply now because
                                                                                                                   of qualified military service but it could apply later.
  Case number
  (if known)                                                                                                    ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ✔ Married and your spouse is NOT filing with you. You and your spouse are:
     ❑
        ✔ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                $4,023.08                  $3,308.34
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                      $0.00                    $0.00
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                         $0.00                    $0.00
 5. Net income from operating a business, profession,
                                                                        Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)                                 $0.00            $0.00

     Ordinary and necessary operating expenses                      -       $0.00   -        $0.00

                                                                                                     Copy
                                                                            $0.00           $0.00
     Net monthly income from a business, profession, or farm                                         here
                                                                                                     →                 $0.00                    $0.00
 6. Net income from rental and other real property                      Debtor 1        Debtor 2
     Gross receipts (before all deductions)                                 $0.00            $0.00

     Ordinary and necessary operating expenses                      -       $0.00   -        $0.00

                                                                                                     Copy
                                                                            $0.00           $0.00
     Net monthly income from rental or other real property                                           here
                                                                                                     →                 $0.00                    $0.00
 7. Interest, dividends, and royalties                                                                                 $0.00                    $0.00

 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                               page 1
                 Case 24-41502-mxm7                                      Doc 1            Filed 04/30/24 Entered 04/30/24 20:47:11 Desc Main
Debtor 1                   Eanoch                         Ray                             Stafford
                                                                                         Document    Page 77 of 84    Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                        $0.00                           $0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................          $0.00
           For your spouse......................................................................                $0.00
       9. Pension or retirement income. Do not include any amount received that was a                                                      $0.00                           $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                  $4,023.08              +        $3,308.34       = $7,331.42
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                      Total current
                                                                                                                                                                                     monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →             $7,331.42
            Multiply by 12 (the number of months in a year).                                                                                                                          X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.      $87,977.04
13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             Texas

    Fill in the number of people in your household.                                  5

    Fill in the median family income for your state and size of household.................................................................................................... 13.   $118,766.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
         ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
    14a. ❑
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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Debtor 1           Eanoch                Ray                   Stafford
                                                              Document    Page 78 of 84    Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Eanoch Ray Stafford
       Signature of Debtor 1

       Date 04/30/2024
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF TEXAS
                                                          FORT WORTH DIVISION

IN RE: Stafford, Eanoch Ray                                                           CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     04/30/2024             Signature                            /s/ Eanoch Ray Stafford
                                                                       Eanoch Ray Stafford, Debtor
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                                Attorney General of Texas
                                Collections Div/Bankruptcy Sec
                                PO Box 12548
                                Austin, TX 78711-2548



                                Capital One Auto Finance
                                Attn: Bankruptcy 7933 Preston Rd
                                Plano, TX 75024-2302




                                Chase Auto Finance
                                Attn: Bankruptcy 700 Kansas Lane LA
                                Monroe, LA 71203




                                City offset Supply Co.
                                120 N. Paschall Road
                                Sunnyvale, TX 75182




                                Clampitt Paper Company
                                9207 Ambassador Row
                                Dallas, TX 75247




                                Comptroller of Public
                                Accounts
                                Revenue Accounting/Bankruptcy Div
                                PO Box 13528
                                Austin, TX 78711


                                Corporate Business Solutions
                                Inc.
                                2233 East Loop 820 N
                                Fort Worth, TX 76118



                                Dallas County Tax
                                Assessor/Collector
                                John R. Ames, CTA
                                PO Box 139066
                                Dallas, TX 75313-9066
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                                DFW Envelopes
                                5114 Vandella
                                Dallas, TX 75235-8828




                                Dial A Messenger
                                1214 S. Akard St.
                                Dallas, TX 75215




                                EECU
                                Attn: Bankruptcy
                                PO Box 1777
                                Fort Worth, TX 76101



                                Federated Mutual Insurance
                                9001 Airport Freeway 500
                                North Richland Hills, TX 76180




                                Fuji Film
                                110o King George Post Road
                                Edison, NJ 08837




                                HP Indigo
                                10400 Marina Drive
                                Olive Branch, MS 38654




                                Internal Revenue Service
                                Centralized Insolvency Operations
                                PO Box 7346
                                Philadelphia, PA 19101-7346



                                Jet Couriers
                                2274 Rockbrook Drive
                                Lewisville, TX 75067
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                                Letterpress Graphics Inc.
                                212 College Ave.
                                Fort Worth, TX 76104




                                Linebarger Goggan Blair &
                                Sampson LLP
                                2777 N Stemmons Fwy Ste 1100
                                Dallas, TX 75207-2513



                                Novatech Inc.
                                11330 Old Roswell Road Ste. 600
                                Roswell, GA 30076




                                Performance Specialty
                                Services
                                1195 Empire Central Place
                                Dallas, TX 75247



                                Primary Color Inc.
                                9239 Premier Row
                                Dallas, TX 75247




                                Print Mail Pro
                                2621 Lone Star Drive
                                Dallas, TX 75212




                                Printing & Imaging Assoc.
                                5720 LBJ Frwy. Ste. 505
                                Dallas, TX 75247




                                Eanoch Ray Stafford
                                513 Gail Drive
                                Kennedale, TX 76060
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                                Synchrony Bank/Lowes
                                Attn: Bankruptcy
                                PO Box 965060
                                Orlando, FL 32896-5060



                                Texas Alcoholic Beverage
                                Commission
                                Licenses and Permit Division
                                PO Box 13127
                                Austin, TX 78711-3127


                                Texas Trust Credit Union
                                Attn: Bankruptcy
                                PO Box 2260
                                Mansfield, TX 76063-0047



                                Texas Workforce Commission
                                TEC Building-Bankruptcy
                                101 E 15th St RM 370
                                Austin, TX 78778-0001



                                Tms/veritexcommunityba
                                3138 E. Elwood Street Ste. 800
                                Phoenix, AZ 85034




                                Trade Press
                                2432 Minnis Drive
                                Haltom City, TX 76117




                                United States Attorney
                                General
                                Department of Justice
                                10 and Constitution, NW
                                Washington, DC 20530-0001


                                United States Trustee
                                Rm 9C60 1100 Commerce St
                                Dallas, TX 75242
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                                United States Trustee -
                                Eastern
                                110 N College Ave
                                Tyler, TX 75702-0204



                                Veritex Bank
                                8214 Westchester Dr. 400
                                Dallas, TX 75225




                                Veritex Community Bank
                                5049 W Park Blvd
                                Plano, TX 75093
